
		
				AMENDMENT TO RULE 9 RULES GOVERNING ADMISSION TO PRACTICE OF LAW2022 OK 17Decided: 02/22/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 17, __ P.3d __

				


IN RE: AMENDMENTS TO RULE 9, RULES GOVERNING ADMISSION TO THE PRACTICE OF LAW IN THE STATE OF OKLAHOMA, 5 O.S.2021, ch. 1, app. 5.

Rule 9 of the Rules Governing Admission to the Practice of Law in the State of Oklahoma, 5 O.S.2021, ch. 1, app. 5, is hereby amended as shown in the attached Exhibit "A." The amended rule shall be effective March 1, 2022.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 22ND DAY OF February, 2022.

/S/CHIEF JUSTICE
ALL JUSTICES CONCUR
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Exhibit A
Rules Governing Admission to the Practice of Law in the State of Oklahoma
Chapter 1, App. 5
Rule 9. Temporary Permits
A. Subject to the limitation of Subsection C, tTemporary permits to practice law until the conclusion of the next succeeding bar examination and report of the results thereof may be granted upon the recommendation of the Board of Bar Examiners after a showing of public convenience and necessity, which shall include but not be limited to a showing by a qualified legal services provider as defined in subsection B of this rule, or in the private sector where a case of extreme hardship is shown, provided the applicant has taken and passed the Multistate Professional Responsibility Examination. All applicants for temporary permit to practice law shall file with the Board of Bar Examiners an application for such temporary permit in addition to regular application for admission to the bar examination. The Board shall, as soon as practicable, report its recommendation on such application for temporary permit to the Supreme Court, together with a copy of such application.
B. A "qualified legal services provider" means a not for profit legal services organization whose primary purpose is to provide legal services to low income clients or a legal department within a not for profit organization that employs at least one (1) lawyer full-time to provide legal services to low income clients.
C. Any applicant who has failed a prior Oklahoma Bar Examination shall not be eligible for a temporary permit to practice law in Oklahoma.




